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           EXHIBIT B
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Yolo County Library provides access for all to ideas that inform, entertain
and inspire. In order to maintain a clean, efficient, pleasant, and safe envi-
ronment for everyone using the library, the Yolo County Library has adopted
the following Code of Behavior:



                               LIBRARY CODE OF BEHAVIOR

  1. Treat people, materials and furniture with respect.

  2. Speak and act in a manner that doesn’t disturb others.

  3. Leave pets, bicycles and any large objects outside the
     building.
  4. Young children must be closely supervised by a
     responsible adult.
  5. Honor all library rules and procedures.

  6. Immediately report suspicious, unsafe or discourteous
     behavior to a staﬀ member.
  7. Consume food and drink outside the library or in

     designated areas.


Any person who inten onally interferes with the business of the library by obstruc ng or in mida ng those a emp ng
to carry on business in the library and who refuses to leave the library a er being requested to do so by the library
management is guilty of a misdemeanor crime under California Penal Code Sec on 602.1.


Any person who defaces, damages, destroys or steals library property is guilty of a misdemeanor crime under California
Penal Code Sec on 490.5 or Sec on 19910 of the California Educa on Code.


All other laws pertaining to behavior in a public place apply, including California Penal Code Sec ons 314,415,647 and
653b.
                                                                                           Exhibit B, Page 1
